Case: 4:09-cr-00381-JCH   Doc. #: 453 Filed: 03/12/10   Page: 1 of 7 PageID #:
                                    1437
Case: 4:09-cr-00381-JCH   Doc. #: 453 Filed: 03/12/10   Page: 2 of 7 PageID #:
                                    1438
Case: 4:09-cr-00381-JCH   Doc. #: 453 Filed: 03/12/10   Page: 3 of 7 PageID #:
                                    1439
Case: 4:09-cr-00381-JCH   Doc. #: 453 Filed: 03/12/10   Page: 4 of 7 PageID #:
                                    1440
Case: 4:09-cr-00381-JCH   Doc. #: 453 Filed: 03/12/10   Page: 5 of 7 PageID #:
                                    1441
Case: 4:09-cr-00381-JCH   Doc. #: 453 Filed: 03/12/10   Page: 6 of 7 PageID #:
                                    1442
Case: 4:09-cr-00381-JCH   Doc. #: 453 Filed: 03/12/10   Page: 7 of 7 PageID #:
                                    1443
